4:03-cr-03014-RGK-CRZ          Doc # 494      Filed: 01/16/14     Page 1 of 4 - Page ID # 1779



                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA
                                                    CASE NUMBER: 4:03CR3014-005
                      Plaintiff,
                                                    USM Number: 18186-047
       vs.

CHRISTOPHER A. GANT                                 KOREY L. REIMAN
                                                    DEFENDANT’S ATTORNEY
                      Defendant.


                              JUDGMENT IN A CRIMINAL CASE
                      (For Revocation of Probation or Supervised Release)

THE DEFENDANT admitted guilt to violation of mandatory condition and special condition 6 of
the term of supervision.

ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following offenses:

                                                                               Date Violation
Violation Number                     Nature of Violation                        Concluded

1                       The defendant shall not commit another federal, June 9, 2013
                        state, or local crime.
6                       The defendant shall submit to testing requested May 26, 2013
                        by any person involved in monitoring the
                        defendant's supervision, that is, testing to detect
                        the presence of controlled substances in the
                        defendant's bodily fluids in order to determine
                        whether the defendant has consumed, or reverted
                        to use of any prohibited substance.
Original Offense: Conspiracy to distribute and possess with intent to distribute and possess with
intent to distribute cocaine base.

The defendant is sentenced as provided in pages 2 through 4 of this judgment. The sentence is
imposed pursuant to the Sentencing Reform Act of 1984.

Allegations 2, 3, 4, and 5 of the Petition are dismissed on the motion of the United States.

Following the imposition of sentence, the Court advised the defendant of the right to appeal
pursuant to the provisions of Fed. R. Crim. P. 32 and the provisions of 18 U.S.C. § 3742 (a) and
that such Notice of Appeal must be filed with the Clerk of this Court within fourteen (14) days of
this date pursuant to Fed. R. App. P. 4.

The defendant shall cooperate in the collection of DNA, pursuant to Public Law 108-405
(Revised DNA Collection Requirements under the Justice for All Act of 2004).


\
4:03-cr-03014-RGK-CRZ            Doc # 494   Filed: 01/16/14     Page 2 of 4 - Page ID # 1780
Defendant: CHRISTOPHER A. GANT                                                          Page 2 of 4
Case Number: 4:03CR3014-005


IT IS ORDERED that the defendant shall notify the United States Attorney for this district within
30 days of any change of name, residence, or mailing address until all fines, restitution, costs
and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defendant shall notify the court and United States attorney of any material change in the
defendant’s economic circumstances.

                                                           Date of Imposition of Sentence:
                                                           January 16, 2014

                                                           Richard G. Kopf
                                                           Senior United States District Judge
                                                           January 16, 2014




                                               2
4:03-cr-03014-RGK-CRZ             Doc # 494    Filed: 01/16/14   Page 3 of 4 - Page ID # 1781
Defendant: CHRISTOPHER A. GANT                                                        Page 3 of 4
Case Number: 4:03CR3014-005


                                        IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be
imprisoned for a term of 36 months with no supervised release to follow. Said term shall
run consecutive to the sentence imposed in Lancaster County District Court, Case No.
CR13-702.

The Court makes the following recommendations to the Bureau of Prisons:

    1. That the defendant participate in the 500-hour Intensive Drug Treatment Program or any
       similar drug treatment program available.


The defendant is remanded to the custody of the United States Marshal.

                                 ACKNOWLEDGMENT OF RECEIPT

I hereby acknowledge receipt of a copy of this judgment this ____ day of ________________,
20___.

                                                            _____________________________
                                                                  Signature of Defendant

                                              RETURN

It is hereby acknowledged that the defendant was delivered on the ___ day of _____________,
20____ to ______________________________________, with a certified copy of this
judgment.

                                                            _____________________________
                                                                  UNITED STATES WARDEN

                                                            BY: _________________________

NOTE: The following certificate must also be completed if the defendant has not signed
the Acknowledgment of Receipt, above.

                                         CERTIFICATE

It is hereby certified that a copy of this judgment was served upon the defendant this ____ day
of ______________, 20____.

                                                            _____________________________
                                                                  UNITED STATES WARDEN

                                                            BY: __________________________




                                                 3
4:03-cr-03014-RGK-CRZ            Doc # 494     Filed: 01/16/14   Page 4 of 4 - Page ID # 1782
Defendant: CHRISTOPHER A. GANT                                                           Page 4 of 4
Case Number: 4:03CR3014-005




                             CRIMINAL MONETARY PENALTIES

The defendant shall pay the following total criminal monetary penalties in accordance with the
schedule of payments set forth in this judgment.

      Total Assessment                       Total Fine                  Total Restitution

 $100.00 (Time has expired)

The Court has determined that the defendant does not have the ability to pay interest and it is
ordered that interest requirement is waived.


                                               FINE
No fine imposed.


                                         RESTITUTION

No restitution imposed.


CLERK'S OFFICE USE ONLY:

ECF DOCUMENT

I hereby attest and certify this is a printed copy of a
document which was electronically filed with the
United States District Court for the District of Nebraska.

Date Filed:__________________________________

DENISE M. LUCKS, CLERK

By ______________________________________Deputy Clerk




                                                 4
